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                                                                                                                    Last revised 8/1/15
                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY
In Re:                                                                          Case No.:                17-21745
                                                                                                  ____________________
Martin Edward Olivo
                                                                                Judge:            ____________________

                                                                                Chapter:                       13

                          Debtor(s)

                                              Chapter 13 Plan and Motions

         ☐ Original                         ☐ Modified/Notice Required                            ☐ Discharge Sought
         ☐ Motions Included                 ☐ Modified/No Notice Required                         ☐ No Discharge Sought

         Date:        June 7, 2017
                 ____________________

                                        THE DEBTOR HAS FILED FOR RELIEF UNDER
                                         CHAPTER 13 OF THE BANKRUPTCY CODE

                                              YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be confirmed and
become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                         YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                          IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                       THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM


   Part 1:    Payment and Length of Plan


                                        500.00
         a. The debtor shall pay $ _______________          month
                                                   per _______________ to the Chapter 13 Trustee, starting on
         July 1, 2017
 _________________________                          36
                           for approximately _______________ months.

         b. The debtor shall make plan payments to the Trustee from the following sources:

                 ☐    Future earnings

                 ☐    Other sources of funding (describe source, amount and date when funds are available):




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       c. Use of real property to satisfy plan obligations:

           ☐ Sale of real property
             Description:
              Proposed date for completion: ____________________

           ☐ Refinance of real property:
             Description:
             Proposed date for completion: ____________________

           ☐ Loan modification with respect to mortgage encumbering property:
             Description: 81 Van Horn Road Newton, NJ & 151 Rt 46 Netcong, NJ
             Proposed date for completion: 6   months after confirmation
                                           ____________________

       d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

       e. ☐ Other information that may be important relating to the payment and length of plan:


Part 2:     Adequate Protection

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
                                                                          $1,600 & $1,100 to be paid directly by the
      b. Adequate protection payments will be made in the amount of $ _______________
                                                      Lakeland Bank & Rushmore
debtor(s) outside the Plan, pre-confirmation to: ______________________________      (creditor).

Part 3:     Priority Claims (Including Administrative Expenses)

       All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                   Type of Priority                            Amount to be Paid
William H. Oliver Jr.                      Administrative Expenses                     $3,460.00
IRS                                        2015 & 2016                                 $2,100.00




Part 4:     Secured Claims

      a. Curing Default and Maintaining Payments
      The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:




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Creditor               Collateral or         Arrearage              Interest Rate on   Amount to be             Regular Monthly
                       Type of Debt                                 Arrearage          Paid to Creditor         Payment
                                                                                       (In Plan)                (Outside Plan)
Lakeland Bank - 1st    81 Van Horn Road,     Unknown                0%                 arrears may be paid      see adequate
mortgage               Newton, N.J.                                                    pending loan             protection section 2b
                                                                                       modification             of the chapter 13
                                                                                                                plan
Rushmore - 1st         151 Rt 46, Netcong,   Unknown                0%                 arrears not to be        see adequate
mortgage               NJ                                                              paid pending loan        protection section 2b
                                                                                       modification             of the chapter 13
                                                                                                                plan


       b. Modification
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                               NOTE: A modification under this Section ALSO REQUIRES
                             the appropriate motion to be filed under Section 7 of the Plan.


Creditor              Collateral   Scheduled           Total          Superior Liens    Value of           Annual        Total
                                   Debt                Collateral                       Creditor           Interest      Amount
                                                       Value                            Interest in        Rate          to be
                                                                                        Collateral                       Paid
Bank of America -     81 Van Horn Unknown           $285,000         $285,000          $0                  0%            $0
2nd mortgage          Road,
                      Newton,

Fulton Bank - 2nd     151 Rt 46,  Unknown           $120,000         $180,000.00       $0                  0%            $0
mortgage              Netcong, NJ



      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.



       c. Surrender
       Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:

Creditor                                        Collateral to be Surrendered       Value of Surrendered       Remaining
                                                                                   Collateral                 Unsecured Debt




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      d. Secured Claims Unaffected by the Plan
           The following secured claims are unaffected by the Plan:


      e. Secured Claims to be Paid in Full Through the Plan:

Creditor                                    Collateral                                    Total Amount to be
                                                                                          Paid Through the Plan




Part 5:    Unsecured Claims


      a. Not separately classified allowed non-priority unsecured claims shall be paid:
                                    0
           ☐ Not less than $ _______________ to be distributed pro rata
           ☐ Not less than _______________ percent
           ☐ Pro Rata distribution from any remaining funds

    b. Separately classified unsecured claims shall be treated as follows:

Creditor                           Basis For Separate Classification   Treatment                    Amount to be Paid




Part 6:    Executory Contracts and Unexpired Leases

      All executory contracts and unexpired leases are rejected, except the following, which are assumed:

Creditor                                 Nature of Contract or Lease            Treatment by Debtor




                                                          4
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Part 7:    Motions


NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service must be filed with the Clerk of Court when the plan and transmittal notice are served.


       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).
       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                 Nature of        Type of Lien   Amount of        Value of        Amount of     Sum of All      Amount of
                         Collateral                      Lien             Collateral      Claimed       Other Liens     Lien to be
                                                                                          Exemption     Against the     Avoided
                                                                                                        Property




       b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured.
      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor                         Collateral                          Amount of Lien
                                                                     to be Reclassified
Bank of America - 2nd mortgage 81 Van Horn Road, Newton,          Total amount of lien, debt discharged in prior chapter 7



Fulton Bank - 2nd mortgage      151 Rt 46, Netcong, NJ            Total amount of lien, debt discharged in prior chapter 7




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:




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Creditor                        Collateral                     Amount to be                   Amount to be
                                                               Deemed Secured                 Reclassified as Unsecured




Part 8:    Other Plan Provisions

     a. Vesting of Property of the Estate
           ☐   Upon confirmation
           ☐   Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

      c. Order of Distribution
      The Trustee shall pay allowed claims in the following order:
           1) Trustee commissions
              Other Administrative Claims - William H. Oliver Jr.
           2) ___________________________________________________________
              Secured Claims
           3) ___________________________________________________________
              Lease Arrearages
           4) ___________________________________________________________
           5)Priority Claims                 6)General Unsecured Claims
      d. Post-Petition Claims
      The Trustee ☐ is, ☐ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.

Part 9:    Modification

      If this Plan modifies a Plan previously filed in this case, complete the information below.
      Date of Plan being Modified: _________________________.

Explain below why the plan is being modified:                  Explain below how the plan is being modified:




     Are Schedules I and J being filed simultaneously with this Modified Plan?         ☐ Yes         ☐ No




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Part 10:   Sign Here


      The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.


            June 7, 2017
      Date: ______________________________                          /s/William H. Oliver Jr.
                                                                    ______________________________
                                                                    Attorney for the Debtor


      I certify under penalty of perjury that the above is true.


            June 7, 2017
      Date: ______________________________                          /s/Martin Edward Olivo
                                                                    ______________________________
                                                                    Debtor


      Date: ______________________________                          ______________________________
                                                                    Joint Debtor




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